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                            IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, ex rel.                         :
ANTHONY R. SPAY,                                          :
                                                          :        CIVIL ACTION
                         Plaintiff,                       :
                                                          :
        v.                                                :
                                                          :        NO. 09-4672
                                                          :
CVS CAREMARK CORPORATION;                                 :
CAREMARK Rx, LLC (f/k/a CAREMARK                          :
Rx, Inc.); CAREMARK, LLC (f/k/a                           :
CAREMARK, INC.); SILVERSCRIPT, LLC                        :
(f/k/a SILVERSCRIPT INC.),                                :
                                                          :
                         Defendants.                      :


                                                 ORDER

        AND NOW, this 18th day of September, 2014, upon consideration of the parties’ letter briefs of

September 15, 2014 and September 17, 2014, it is hereby ORDERED that the Court’s Scheduling Order

is MODIFIED as follows:

        1.       As previously established, all fact discovery in this case shall be completed by October
                 31, 2014.

        2.       Plaintiff’s Expert Reports shall be served on November 14, 2014.

        3.       Defendants’ Expert Reports shall be served on January 19, 2015.

        4.       Plaintiff’s Rebuttal Reports shall be served on February 27, 2015.

        5.       Expert discovery shall close on March 20, 2015.

        6.       All dispositive motions are due by March 27, 2015.

No further extensions from these deadlines will be granted.

        It is so ORDERED

                                                          BY THE COURT:



                                                          s/ Ronald L. Buckwalter
                                                          RONALD L. BUCKWALTER, S.J.
